 

ATYORNE¥ OR PARTV \MTHOUY MTORNEY (N(imo alidAdJmF.xl `l |"|.Ffl’i iONE N(), FOR COURT USF; ONLY

Adam Tracy, 6287552 (888) 611~7716
The Tracy Firm, Ltd.
2100 Manchester Road, Suile 615

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Arronni:~v ron r~nmn,' Pia|nfjff N Oll 9
insert name ol courtl judicial distan or branch col rt lt any

Unlted States District Court, Northern Distrlct of illinois

 

 

 

 

 

FLA|NT|FF.
Fiava Works, lnc.

 

DEFENDANT:

Biack Rayne Productions, lnc` XLRS Medla Group , et al.

 

DATEZ Tliv'=Et DEP\‘/Dl\[ CA$E NUMBER.

NON SERV|CE REPORT 2017Cv08102

 

 

 

 

 

 

 

l am and was on the dates herein mentioned a citizen of the United Stetes, over 18 years of age and note party to this action, end l received
copies of the following:

Compiaint, Exhibits A, E)<hibits B, Summons

After due search, careful inquiry and diligent attempts et the following address(es). l have been unable to effect service of said process on:
Black Rayne Productions, |no.
(1)Unl<nown: 160 Clalrmont Ave, , Decetur, GA 30030

Process is being returned without service for the following reeson(s):

On 12/9/2017 12:52:00 PM at address (1) above Not Found. Party to Seive is unknown at this location

Fee for Service: $ 53.95
l declare under penalty of perjury under the laws of the United States of

 

Not a registered Callt`ornia process scrver. America that the foregoing ls true and correct

12/19/2017

Frank Johnson

One Legal - 194-Marin Signature; " t

504 Redwood Bivd #223 O\i / pra k J huson

Novato. CA 94947

415~491~0606 OL# 11565749

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